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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


  CELLULAR COMMUNICATIONS
  EQUIPMENT LLC,
                                                           CIVIL ACTION NO. 6:17-cv-590
  v.

  AT&T MOBILITY LLC., et al.,


  CELLULAR COMMUNICATIONS
  EQUIPMENT LLC,
                                                         CIVIL ACTION NO. 6:17-cv-592
  v.

  AT&T MOBILITY LLC., et al.,



                                           ORDER

       The Court granted the Parties Joint Motion to Sever, Case No. 6:16-cv-363, Doc. No. 32,

which resulted in the above-styled cases. The Clerk shall waive payment of a filing fee for the

severed cases.

       It is ORDERED that the Clerk shall ADMINISTRATIVELY CLOSE the above-styled

cases pending related trials against the Manufacturer Defendants in Case No. 6:16-cv-363. Any

party may request that the Court lift the stay once the pending related trails have concluded.

        So ORDERED and SIGNED this 18th day of October, 2017.




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